Case 5:05-cr-00016-GEC-JCH   Document 129   Filed 05/02/06   Page 1 of 7
                             Pageid#: 268
Case 5:05-cr-00016-GEC-JCH   Document 129   Filed 05/02/06   Page 2 of 7
                             Pageid#: 269
Case 5:05-cr-00016-GEC-JCH   Document 129   Filed 05/02/06   Page 3 of 7
                             Pageid#: 270
Case 5:05-cr-00016-GEC-JCH   Document 129   Filed 05/02/06   Page 4 of 7
                             Pageid#: 271
Case 5:05-cr-00016-GEC-JCH   Document 129   Filed 05/02/06   Page 5 of 7
                             Pageid#: 272
Case 5:05-cr-00016-GEC-JCH   Document 129   Filed 05/02/06   Page 6 of 7
                             Pageid#: 273
Case 5:05-cr-00016-GEC-JCH   Document 129   Filed 05/02/06   Page 7 of 7
                             Pageid#: 274
